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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

 In re                                       )
                                             )       Case No. 24-13394-JGR
 WESTERN RISE, INC.                          )
                                             )       Chapter 11
         Debtor.                             )       (Subchapter V)
                                             )


  NOTICE OF WITHDRAWAL OF LIMITED OBJECTION TO MOTION TO APPROVE
  POST-PETITION FINANCING AND APPROVING DEBTOR-IN-POSSESSION CREDIT
                       AND SECURITY AGREEMENT


        The S Group, Inc. (“TSG”), by and through undersigned counsel, hereby withdraws its
 Limited Objection to Motion to Approve Post-Petition Financing and Approving Debtor-in-
 Possession Credit and Security Agreement (the “Objection”) [Doc. 117], stating as follows:

         1. Debtor Western Rise, Inc., through counsel, provided a draft of its proposed Amended
            Plan of Reorganization for TSG’s review on December 5, 2024.

         2. Given the information received, TSG has determined it is unnecessary to pursue its
            Objection. Therefore, TSG withdraws the Objection.

 Dated this 9th day of December, 2024.

                                                 MARKUS WILLIAMS YOUNG &
                                                 HUNSICKER LLC

                                                 By: /s/ Lacey S. Bryan
                                                 Bradley T. Hunsicker #43141
                                                 Lacey S. Bryan, #51908
                                                 1775 Sherman Street, Suite 1950
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                                                 Attorneys for The S Group, Inc.




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                                CERTIFICATE OF SERVICE


         The undersigned certifies that on December 9, 2024, a true and correct copy of the
 foregoing NOTICE OF WITHDRAWAL OF LIMITED OBJECTION TO MOTION TO
 APPROVE POST-PETITION FINANCING AND APPROVING DEBTOR-IN-
 POSSESSION CREDIT AND SECURITY AGREEMENT was filed and served via CM/ECF
 pursuant to L.B.R. 9013-1 and 9036-1 or via regular U.S. Mail postage prepaid, as indicated below
 on the following:

 Via CM/ECF

 Via CM/ECF:

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                                             /s/ Serina Schaefer
                                             Serina Schaefer, Paralegal




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